                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               Case No. 20-cv-954

 FARHAD AZIMA,

           Plaintiff,

        v.                                                  DECLARATION OF
                                                            RANDY SHEPARD
 NICHOLAS DEL ROSSO and VITAL
 MANAGEMENT SERVICES, INC.,

           Defendants.


       I, Randy Shepard, pursuant to 28 U.S.C. § 1746, do hereby declare under penalty

of perjury the following:

       1.        I am a private investigator duly licensed by the State of North Carolina. I

have been licensed by the State since December 21, 2016. I am employed by Macks Pickett

Investigative Services, Inc., of Raleigh, North Carolina.

       2.        I was retained to do surveillance on Nicholas Paul Del Rosso of Chapel Hill,

North Carolina, on the dates December 18, 2022, and December 20, 2022.

      3.         On Sunday, December 18, 2022, I began surveillance at Mr. Del Rosso’s

residence at 318 Lystra Preserve Drive, Chapel Hill, North Carolina, at approximately 8:00

a.m. At approximately 12:48 p.m., a white Chrysler Pacifica driven by an unidentified

white female left the residence with a person inside the vehicle that I identified as Nicholas

Paul Del Rosso based on my previous access to photographs of him. The person I identified

as Mr. Del Rosso was sitting in the front passenger seat. The vehicle was also occupied by




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another unidentified white female with children. I followed the vehicle when it left the

residence.

       4.     At approximately 1:25 p.m. on December 18, 2022, the Pacifica arrived at

the American Tobacco North parking deck located at 305 West Pettigrew Street in

downtown Durham, North Carolina. The Pacifica went to the second level of the parking

deck and parked in a handicapped parking space. I parked my vehicle and began

surveillance on foot. The unidentified female driver then moved the Pacifica and parked it

out of view on a different level of the parking deck, causing me to lose sight of the vehicle

briefly. A short period later, I located the vehicle unoccupied in the parking deck and

established a surveillance position with a view of the vehicle. I confirmed that it was the

same vehicle based on the license plate.

       5.     I took a photograph of the unoccupied Pacifica in the parking deck, which

fairly and accurately depicts the Pacifica as I saw it in the parking deck. That photograph

is attached to this Declaration as Exhibit A.

       6.     At approximately 5:01 p.m. on December 18, 2022, I observed the individual

identified as Mr. Del Rosso and the other previous occupants of the Pacifica as they exited

the elevator to the third floor of the parking deck. Mr. Del Rosso returned to the Pacifica

from the elevator on foot. They all re-entered the Pacifica with the same seating

arrangements from the trip from Chapel Hill to Durham and then departed from the area.

       7.     At the time that the individual identified as Mr. Del Rosso and the others

returned to the Pacifica at approximately 5:01 p.m., I took a series of photographs. Those

photographs fairly and accurately depict the events involving the return of the individual


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identified as Mr. Del Rosso to the Pacifica as I observed it at that time. Those photographs

are attached to this Declaration as Exhibits B and C.

       8.     Based on signage around the area, on December 18, 2022, the parking deck

at 305 West Pettigrew Street was being used by attendees of the production “A Christmas

Carol” that was taking place at the Durham Performing Arts Center located nearby at 123

Vivian Street in Durham, North Carolina. My research indicated that the production of “A

Christmas Carol” was scheduled at the Durham Performing Arts Center to begin at 2:00

p.m. on December 18, 2022.

       9.     The one-way distance from the parking deck at 305 West Pettigrew Street,

Durham, to the Durham Performing Arts Center located at 123 Vivian Street, Durham, via

Pettigrew Street is approximately 0.3 miles.

       10.    The one-way distance from Mr. Del Rosso’s residence in Chapel Hill to the

parking deck at 305 West Pettigrew Street, Durham, is approximately 19 miles.

       11.    On Tuesday, December 20, 2022, I began surveillance at Mr. Del Rosso’s

residence at 318 Lystra Preserve Drive, Chapel Hill, North Carolina, at approximately 9:45

a.m. At approximately 1:11 p.m., the individual identified as Mr. Del Rosso left the

residence by himself driving a blue Toyota Tundra. I followed the vehicle when it left the

residence.

       12.    At approximately 1:15 p.m. on December 20, 2022, the individual identified

as Mr. Del Rosso arrived at a Wells Fargo automatic teller machine (ATM) located at

11316 US Highway 15-501 in Chapel Hill, North Carolina. The individual identified as

Mr. Del Rosso drove up to the ATM for a few moments and then left the area.


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         13.   At approximately 1:18 p.m. on December 20, 2022, the individual identified

as Mr. Del Rosso arrived at the Lowe’s Foods grocery store at 11312 US Highway 15-501

in Chapel Hill, North Carolina. After departing his vehicle, the individual identified as Mr.

Del Rosso went into the grocery store. I followed the individual identified as Mr. Del Rosso

into the grocery store and observed him shopping for groceries. After shopping, the

individual identified as Mr. Del Rosso left the store and returned to his vehicle at

approximately 1:36 p.m.

         14.   After leaving the Lowe’s Foods grocery store, the identified as Mr. Del

Rosso traveled to the Cashpoints ATM located at 150 Chatham Downs Drive in Chapel

Hill, North Carolina, arriving at approximately 1:44 p.m. Upon arriving at the Cashpoints

ATM, the individual identified as Mr. Del Rosso exited his vehicle and walked up to the

ATM to use it. After using the ATM for a few moments, the individual identified as Mr.

Del Rosso returned to his vehicle and returned to his residence. The individual identified

as Mr. Del Rosso arrived back at his residence at approximately 1:48 p.m.

         15.   During the period on December 20, 2022, between when the individual

identified as Mr. Del Rosso left his residence driving the Tundra and the time he returned

to the residence, I took a series of photographs. Those photographs fairly and accurately

depict the events involving the individual identified as Mr. Del Rosso’s trip to the Wells

Fargo ATM, shopping at the Lowe’s Foods, and using the Cashpoints ATM as I observed

them at that time. Those photographs are attached to this Declaration as Exhibits D, E, F,

and G.




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      16.    The one-way distance from Mr. Del Rosso’s residence in Chapel Hill to the

Wells Fargo ATM at 11316 US Highway 15-501, Chapel Hill, is approximately 2.5 miles.

      17.    The one-way distance from the Wells Fargo ATM at 11316 US Highway

15-501, Chapel Hill, to the Lowe’s Foods at 11312 US Highway 15-501, Chapel Hill, is

approximately 0.2 miles. Based on my observations, the Wells Fargo ATM is a free-

standing ATM and is located in the same parking lot that serves the Lowe’s Foods.

      18.    The one-way distance from the Lowe’s Foods at 11312 US Highway 15-501,

Chapel Hill, to the Cashpoints ATM at 150 Chatham Downs Drive, Chapel Hill, is

approximately 1.5 miles.

      19.    The one-way distance from the Cashpoints ATM at 150 Chatham Downs

Drive, Chapel Hill, back to Mr. Del Rosso’s residence is approximately 1.5 miles.

      20.    The information in this Declaration and the photographs attached to this

Declaration are based on my personal observations and are accurate depictions of the

individual identified as Mr. Del Rosso’s activities as I personally observed them on the

dates described.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on December 30, 2022, in Raleigh, North Carolina.




                                         Randy Shepard




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